                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:06CR51-FDW

UNITED STATES OF AMERICA,                        )
                                                 )
               v.                                )               FINAL ORDER AND
                                                 )           JUDGMENT OF FORFEITURE
JERMAINE BRYANT.                                 )
                                                 )

       On August 21, 2007, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon the defendant’s plea to Counts Five and Six

in the Bill of Indictment. On May 20, May 27 and June 3, 2008, the United States published in the

Mecklenburg Times, a newspaper of general circulation, notice of this forfeiture and of the intent

of the government to dispose of the forfeited property in accordance with the law, and further

notifying all third parties of their right to petition the Court within thirty days for a hearing to

adjudicate the validity of any alleged legal interest in the property. It appears from the record that

no such petitions have been filed.

       Based on the record in this case, including the defendant’s admissions by his plea of guilty

to the charges in Counts Five and Six, the Court finds, in accordance with Fed. R. Crim. P.

32.2(c)(2) and (e)(1)(B), that the defendant had an interest in the property listed below that is

forfeitable under 18 U.S.C. §924(d). The Preliminary Order of Forfeiture has therefore become final

as to this property, and it is subject to forfeiture pursuant to Rule 32.2(c)(2) and Rule 32.2(e)(1)(B).




    Case 3:06-cr-00051-FDW-DCK              Document 100        Filed 07/15/08      Page 1 of 2
       It is therefore ORDERED, ADJUDGED AND DECREED that all right, title, and interest in

the following property is hereby forfeited to the United States for disposition according to law:

       One Sig Sauer .40 caliber semi-automatic pistol and related ammunition.

                                                 Signed: July 14, 2008




   Case 3:06-cr-00051-FDW-DCK                  2
                                           Document 100        Filed 07/15/08      Page 2 of 2
